Case 3:06-cr-00211-CFD Document 44-9 Filed 06/02/09 Pagelof3

Exhibit 8
Case 3:06-cr-00211-CFD Document 44-9 Filed 06/02/09 Page2of3

The Honorable Christopher F. Droney 3 Belgrave Square
United States District Court Monkstown
Abraham Ribicoff Federal Building County Dublin
450 Main Street, Suite 228 . Ireland
Hartford, CT 06103

April 11, 2009

Dear Judge Droney,

My name is John Connolly. fam a 50 year old Irish national. I live in

Dublin with my wife Gertraud and three children - Una (13 years), Henry (12
years) and Ciara (9 years). 1 have been working with the Gen Re Group since
1992 in the Investment area, | am currently employed by Gen Re Capital (a
third party asset manager regulated in Germany by the BaFin) in their

Dublin Branch as Managing Director with responsibility for Portfolio
Management, As a Managing Director of an authorised Investment Adviser I am
aso called "Approved Person."

1 am submitting this letter on behalf of John Houldsworth in the case
United States v John Houldsworth in connection with the Court's
determination of his sentence.

- T know John since 1992 as it was John who interviewed me for the position
of Investment Manager at Cologne Re Dublin; it was John who subsequently
offered me the position; and it was John to whom I reported for about six
years in that role. During that period ! got to know him and his family

very well and I have remained in close contact with them to this day.

I would describe John first and foremost as a family man. Over the years that |
have known him he has often repeated to me how - for him - family always came
first before work. I have personally seen over the years John’s love for his family
and seen how that love has kept him going over the last few very difficult years
as his wife and his three beautiful children rallied around him.

1 would also describe John as a person who has a great desire to always do the
right thing. John showed this desire to me on a daily basis whether it was through
his punctiliousness on his daily work duties or through his day to day interaction
with colleagues. Related to this is John’s ingrained modesty both as an individual
but also in terms of his whole lifestyle. John has never shown to me a great
interest in money or its trappings,

Finally anyone who knows John cannot but be impressed by his genuine
kindness as a person. This kindness has been shown to. me personally on many
occasions but one time that 1 will particularly remember was his compassion and
thoughtfulness towards me to allow me to work out of the Dublin office when J
Case 3:06-cr-00211-CFD Document 44-9 Filed 06/02/09 Page3of3

was based in Germany and my father was ill in hospital in Dublin.

John has handled the recent period before and after his trial with great dignity.
He has thrown himself into his family life, his community and sporting activities
and of course into his gardening. 1] think that for John this has been a period when
he has had more time to spend on the people that matter to him most — his family
and his friends and he has used that time well. His indomitable positive attitude
to life has helped. In addition the support and love of his family has helped. It is
my firm belief that a lengthy prison sentence in America would be a very real
burden on John’s wife, his son and his two daughters at this point.

I would like to thank you for taking the time to read this letter Judge Droney and
I would very respectfully and sincerely ask for your utmost leniency in
sentencing John Houldsworth — a man that | truly know to be a very good and

_ decent person.

Sincerely yours

John Connolly

